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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

   UNITED   STATES            OF
   AMERICA,                         Criminal No. 1: 22-cr-089-ZMF
                 -v-
            NANCY BARRON,
              Defendant.


                             [PROPOSED] ORDER

      Upon consideration of Defendant’s Motion for Admission Pro Hac Vice of Roger

Roots, it is hereby ORDERED that the Motion is GRANTED. Roger Roots is admitted

pro hac vice and may appear on behalf of Defendant Nancy Barron, in the above-

captioned matter.


Dated:              , 2023


                                     United States District Judge
